Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 1 of 14
Case 2:05-cv-04182-SRD-JCW Document16722 Filed 12/15/2008 Page 1 of 14

EXHIBIT “E” TO CLASS SETTLEMENT AGREEMENT

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: KATRINA CANAL BREACHES
CONSOLIDATED LITIGATION CIVIL ACTION

No.: 05-4182
FILEDIN: 05-4181, 05-4182, 05-4191, 05-4568,

05-5237, 05-6073,05-6314, 05-6324,
05-6327, 05-6359, 06-0020, 06-1885,
06-0225, 06-0886, 06-11208, 06-2278,
06-2287, 06-2346, 06-2545, 06-3529,
06-4065, 06-4389, 06-4634, 06-4931,
06-5032, 06-5042, 06-5159, 06-5163,
06-5367, 06-5471, 06-5771, 06-5786,
06-5937, 06-7682, 07-0206, 07-0647,
07-0993, 07-1284, 07-1286, 07-1288,
07-1289,

PERTAINS TO: LEVEE AND MR-GO

SECOND SUPPLEMENTAL LEVEE AND MR-GO MASTER
CONSOLIDATED CLASS ACTION COMPLAINT

NOW INTO COURT, come Class Counsel for the purpose of filing this Second

Supplemental and Amending Levee Master Consolidated Class Action Complaint:
L

This Second Supplemental Levee and MR-GO Master Consolidated Class Action
Complaint is filed pursuant to leave granted by the Court for the purpose of effectuating a
settlement agreement by and between the Class, as defined herein, and Defendants, the Orleans
Levee District, Board of Commissioners Orleans Levee District (“Orleans”), the East Jefferson
Levee District, Board of Commissioners East Jefferson Levee District (“East Jefferson”), the

Lake Borgne Basin Levee District, Board of Commissioners Lake Borgne Basin Levee District

EXHIBIT

E

NO.99913692.1 1

tabbies

Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 2 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/15/2008 Page 2 of 14

(“Lake Borgne”), and their insurer, St. Paul Fire and Marine Insurance Company (“St, Paul”).
As such, unless otherwise stated, the allegations contained herein apply only to the Class, as
defined herein, and to Orleans, East Jefferson, Lake Borgne and St. Paul.
I.
Added as a defendant herein is the Lake Borgne Basin Levee District, a political

corporation organized under the laws of the State of Louisiana.
TIL.
CLASS ACTION ALLEGATIONS
\, This action is appropriate for determination through the Federal Class Action Procedure
(Fed. R. Civ. P. 23, ef seg.) and the proposed Class Representatives herein seek to

represent the following proposed Greater New Orleans Class, and subclasses as outlined,
infra.:

All Persons (a) who at the time of Hurricane Katrina and/or Hurricane Rita (i)
were located, present or residing in the Hurricane Affected Geographic Area, or
(ii) owned, leased, possessed, used or otherwise had any interest in homes, places
of business or other immovable or movable property on or in the Hurricane
Affected Geographic Area, and/or (b) who incurred any losses, damages and/or
injuries arising from, in any manner related to, or connected in any way with
Hurricane Katrina and/or Hurricane Rita and any alleged Levee Failures and/or
waters that originated from, over, under or through the Levees under the authority
and/or control of all or any of the Levee Defendants. The term “Class” shall
expressly include all Persons who are parties to any of the Pending Actions. The
Class shall include and be divided into the following subclasses of Class Members
whose alleged Claims are based in any way on, or result in any way from, the
acts, omissions, or any sources of liability whatsoever of: (a) Subclass 1 ~ the
Lake Borgne Basin Levee District, the Lake Borgne Basin Levee District Board
of Commissioners, and St. Paul Fire and Marine Insurance Company, in its
capacity as insurer of each of the foregoing; (b) Subclass 2 — the East Jefferson
Levee District, the East Jefferson Levee District Board of Commissioners, and St.
Paul Fire and Marine Insurance Company, in its capacity as insurer of each of the
foregoing; and (c) Subclass 3 ~ The Orleans Levee District, the Orleans Levee
District Board of Commissioners, and St, Paul Fire and Marine Insurance
Company, in its capacity as insurer of each of the foregoing. A Class Member
may be included in more than one subclass. Excluded from the Class are the

NO.999 13692. 3
Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 3 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/15/2008 Page 3 of 14

judge and/or magistrate judge to whom the litigation is assigned at the trial court
or upon any appeal.

2. For purposes of the proposed Class, the following terms are defined as follows:

(a) “Person” or “Persons” means an individual, marital community, corporation,
partnership, limited partnership, limited liability company, association, joint stock
company, estate, legal representative, trust, unincorporated organization,
governmental entity, and any other type of legal person or entity, and their
respective heirs, legatees, predecessors, successors, representatives and assigns.

(b) “Hurricane Katrina” means the tropical cyclone named “Hurricane Katrina” by
the National weather Service’s National Hurricane Center which made landfall in
Louisiana on or about August 29, 2005 ineluding, but not limited to, its
classification as a tropical depression, storm, hurricane and/or other weather even
and any and all effects due to, caused by, or relating to Hurricane Katrina
regardless of whether same occurred prior to, concurrently with, or following
Hurricane Katrina’s landfall including, but not limited to, storm surge, flooding,
rainfall, lightning, wind and/or tornados.

(c) “Hurricane Rita” means the tropical cyclone named “Hurricane Rita” by the
National Weather Service’s National Hurricane Center which made landfall in
Louisiana on or about September 24" 2005 including, but not limited to, its
classification as a tropical depression, storm, hurricane and/or other weather event
and any and all effects due to, caused by, or relating to Hurricane Rita regardless
of whether same occurred prior to, concurrently with, or following Hurricane
Rita’s landfall including, but not limited to, storm surge, flooding, rainfall,

lightning, wind and/or tornados.

NO.99913692.1 3
Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 4 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/15/2008 Page 4 of 14

(d) “Hurricane Affected Geographic Area” means the entire area located within the
Parishes of Jefferson, Orleans, Plaquemine and St. Bernard, Louisiana, together
with any body of water that is, in whole or in part, adjacent to or within all or any
portion of any of these Parishes.

(e) “Levee Failures” means the actual or alleged breaching, overtopping, seepage,
collapse, undermining, weakening or any other alleged failure of Levees
regardless of cause, whether caused in whole or part by an alleged defect, error or
neglect with respect to the design, construction, maintenance, inspection, and/or
operation of the Levees, and all dredging operations necessary in connection
therewith or incidental thereto, and/or whether caused in whole or in part by any
wind, waves, tide, rainfall, storm surge or other force or effect caused by or
resulting from Hurricane Katrina and/or Hurricane Rita,

(f) “Levees” means any and all levees, embankments, seawalls, jetties, breakwaters,
water-basins, floodwalls, floodgates, outfall canals, drainage canals, berms, spoil
banks, and other works in relation to such projects, and/or any other flood or
water control structure(s), whether man-made or natural.

(g) “Levee Defendants” means the Board of Commissioners of the Orleans Levee
District, the Orleans Levee District, the Board of Commissioners of the Lake
Borgne Basin Levee District, the Lake Borgne Basin Levee District, the Board of
Commissioners of the East Jefferson Levee District, the East Jefferson Levee
District, the Board of Commissioners of the Southeast Louisiana Flood Protection
Authority-East, and the Southeast Louisiana Flood Protection Authority-East, and

the respective parents, subsidiaries, affiliates, divisions, predecessors, successors,

NO.99913692.1 4
Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 5 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/45/2008 Page 5of 14

heirs, legatees and/or assigns, together with the past, present and future officers,
directors, board members, servants, shareholders, members, presidents, managers,
partners, employees, agents, representatives, consultants, in-house or outside
attorneys, insurers, and reinsurers of the foregoing; provided however, that the
term Levee Defendants shall not include National Union Fire Insurance Company
of Pittsburgh, PA.

(h) “Pending Actions” means any and all lawsuits, administrative claims or other
actions, however asserted (including but not Hmited to any and all petitions,
complaints, third-party demands, cross-claims and counter-claims), asserted
against Levee Defendants and St. Paul, including but not limited to those matters
identified on Exhibit “A” attached hereto and made a part hereof.

a) “Claim” or “Claims” means any and al! claims, rights, demands, suits, actions,
rights of action, interventions, liabilities, liens and causes of action, at law, equity,
admiralty or otherwise, regardless of legal theory, whether known or unknown,
filed or unfiled, asserted or as yet unasserted. The term “Claim” or “Claims”
includes those which are derivative of the claims of any Class Member or which
may be asserted by an assignee, successor, executor, survivor, beneficiary
(including beneficiary under La. C.C. arts, 2315.1 and 2315.2), third-party
beneficiary, heir, or representative of any Class Member, specifically including
but not limited to the wrongful death of a Class Member.

3. Class representatives are: Kenneth & Jeannine Armstrong, 4016 Hamlet Place,

Chalmette, LA 70043 (Subclass 1), Thurman R. Kaiser, 3801 N. Turnbull Dr., Metairie,

NO,99913692.1 5
Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 6 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/15/2008 Page 6 of 14

LA 70002 (Subclass 2) and Donna Augustine, 2126 N, Broad Street, New Orleans, LA
70119 (Subclass 3).

4, The numerosity prerequisite of Fed. R. Civ. P. 23(a)(1) is satisfied because the proposed
class and subclasses are so numerous that joinder of all members is impracticable.

5, The commonality prerequisite of Fed. R. Civ. P. 23(a)(2) is satisfied because there are
common questions of law and fact applicable to both the named Plaintiffs and putative
class and subclass members, including, but not limited to:

(a) The cause or causes of the breaches and/or failures of the hurricane protection
systems associated with the 17" Street Canal, the London Avenue Canal, the
Orleans Avenue Canal, the 40 Arpent Canal, the Mississippi River Gulf Outlet,

the Inner Harbor Navigational Canal/Industrial Canal, and the Lake Pontchartrain
and Vicinity Hurricane Project;

(b) The legal duties of the defendants owed to the Plaintiffs and the class members;
(c) Each defendant’s breach of said duties;

(d) The causal relationship between any such breaches and the failures of the
hurricane protection systems at issue; and

(2) Whether the named defendants may assert certain affirmative defenses applicable
to all named Plaintiffs and putative class members.

6. The typicality requirement of Fed. R. Civ. P. 23(a)(3) is satisfied because the claims of
the class and sub-class representatives are typical of the claims of the putative class and
sub-class members.

7. The adequacy of representation prerequisite of Fed. R. Civ. P. 23(a)(4) is satisfied
because the Class and Sub-Class Representatives will fairly and adequately represent the
interests of the proposed classes. Each representative is represented by skilled counsel,
experienced in the handling of mass tort cases of class action litigation. These attorneys

may be expected to handle this matter in an expeditious and economical manner, serving

NO.99913692.1 6
Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 7 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/15/2008 Page 7 of 14

the interests of all class and sub-class members. Moreover, the representatives will
protect the interests of all class and sub-class members by remaining involved as
necessary in the decision-making required on the part of claimants herein.

8, Class Certification is sought pursuant to Fed. R. Civ. P. 23(b)(1)(B) because the
prosecution of separate actions by individual class members would create a risk of
adjudications with respect to individual class members that, as a practical matter, will be
dispositive of the interests of the other members not parties to the individual
adjudications or will substantially impair or impede their ability to protect their interests.

9. Orleans, East Jefferson, and Lake Borgne are political corporations organized under the
laws of the State of Louisiana such that no judgments against them arising from the
causes of action stated herein shall be exigible, payable or paid absent an express
appropriation of funds by the political subdivision. La. Const. art. 12 §10(C).

10. St. Paul issued certain policies of liability insurance to Orleans, East Jefferson and Lake
Borgne that were in full force and effect on or about August 29, 2005, the cumulative
aggregate limits of which are $17,000,000.

VW.
SPECIFIC ALLEGATIONS AGAINST THE SETTLING DEFENDANTS

11. On or about August 29, 2005, Hurricane Katrina (“Katrina”) hit the Gulf Coast largely
sparing Greater New Orleans, which fortunately lay in Katrina’s rapidly deteriorating
western eye-wall. The result was that Katrina laid waste to virtually everything in its
path along the Mississippi Gulf Coast; but in Orleans Parish, Katrina’s winds did not

register as a Category 3 on the Saffir-Simpson scale, instead barely reaching 100 miles

per hour.

NO.99913692.1 4
Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 8 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/15/2008 Page 8 of 14

12, Nevertheless, through the fault and negligence of Defendants, Katrina’s surge rushed
from the Gulf of Mexico through the Mississippi River Gulf Outlet (“MR-GO”) and
converged with another storm surge rushing from Lake Borgne through the Guif
Intracoastal Waterway (““GIWW”). The combined surge was then funneled into the joint
MR-GO/GIWW, otherwise known as Reach | of the MR-GO inundating Orleans and St.
Bernard Parishes from the east by overwhelming levees/floodwalls and/or spoil banks
that had been negligently designed, constructed, maintained, undermined, weakened,
inspected and/or operated by the Defendants.

13. In addition, through the fault and negligence of Defendants, Katrina’s surge rushed
unhindered through the Rigolets and Chef Menteur Passes into Lake Pontchartrain to
inundate Orleans and Jefferson Parishes from the north by breaching levees/floodwalls
and/or spoil banks that had been negligently designed, constructed, maintained,
undermined, weakened and/or operated by the Defendants.

14. At all material times, Defendants, Orleans Levee District and East Jefferson Levee
District, owned, operated, maintained, and/or designed, the outfall canal known as the
17" Street Canal, including its Levees.

15. At all material times, Defendant, Orleans Levee District, owned, operated, maintained,
and/or designed, the outfall canal known as the London Avenue Canal, including its
Levees.

16. At al! material times, Defendant, Orleans Levee District, owned, operated, maintained,
and/or designed, the outfall canal known as the Orleans Avenue Canal, including its

Levees.

NO.99913692.1 g
Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 9 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/15/2008 Page 9 of 14

17. At ail material times, Defendant, Orleans Levee District, owned, operated, maintained,
and/or designed, the canal known as the Inner Harbor Navigational Canal
(VHNC)/Industrial Canal, including its Levees.

18. At all material times, Defendant, Lake Borgne Basin Levee District, was granted the
authority to establish adequate drainage and flood control in St. Bernard Parish and other
areas within its jurisdiction including the 40 Arpent Canal. Lake Borgne was specifically
granted authority to erect flood control works as they relate to tidewater flooding,
hurricane protection and saltwater intrusion. Lake Borgne was required to engage in the
design, construction, operation, and maintenance of Levees.

19. The Levees along the 17" Street Canal, London Avenue Canal, Orleans Avenue Canal,
IHNC/Industrial Canal, 40 Arpent Canal, and other flood control structures owned,
operated, constructed, designed, and/or maintained by the Defendants experienced Levee
Failures incident to Hurricane Katrina and/or Hurricane Rita.

20. The Levee Failures were proximately caused by the Defendants’ failure to discharge their
statutorily mandated responsibilities relative to flood control and design, construction,
operation and/or maintenance of the Levees.

21. Each ofthe Defendants was negligent in the following, non-exclusive particulars:

a, requesting and causing the 17" Street Canal to be dredged to a depth lower than
the sheet piles situated in or beneath the Levees;

b. requesting and causing the 17" Street Canal to be dredged only on the Orleans
Parish side;

c requesting and causing the 17" Street Canal to be dredged too close to the Levee

on the Orleans Parish side;

NO.99913692.1 9
Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 10 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/15/2008 Page 10 of 14

d. requesting and causing the 17" Street Canal to be dredged in a manner that
compromised the safety of the Levees; and

€. having received reports from residents of water underseeping the Levee and onto
adjacent residential property and then failing to take any action on said reports,
including but not limited to actions to investigate the source or sources of the
water, report the existence of the water on the adjacent properties to other
authorities, and/or to take measures to remedy the cause of the under seepage;

f. negligently allowing, and/or by negligently failing to challenge and prevent, the
aforesaid dredging in the 17" Street Canal;

g. negligently failing to conduct appropriate oversight, maintenance and inspection
of the 17" Street Canal Levee, thus allowing the safety flaws and discoverable
dangers of the system to remain uncorrected and undisclosed to the public;

h, negligently rejecting the “Barrier Plan” and insisting upon implementation of the
flawed High Level parallel plan implemented for the 17° Street Canal;

i, negligently supervising demolition and site preparation of the East Bank
Industrial Area, including, but not limited to, removal of wharfage, salvage,
debris, and other materials from the IHNC/Industrial Canal and/or its banks
and/or its Levees, thus, contributing to the weakening of such Levees and the
ultimate Levee Failures;

j. negligently designing, constructing, operating and/or maintaining the London
Avenue Canal and its Levees;

k. negligently designing, constructing, operating and/or maintaining the Orleans

Avenue Canal and its Levees;

NO.99913692.1 10
Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 11 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/15/2008 Page 11 of 14

1, negligently designing, constructing, operating and/or maintaining the 40 Arpent
Canal and its Levees;

m, negligently causing or contributing to the fatlure to preserve natural marshes and
swamps that acted as buffers against surges off of Lake Borgne that could affect

Hurricane Affected Geographic Area;

n. negligently failing to adequately evaluate potential damage to Levees by storm
surges;

0. negligently failing to correct known defects in the Levees; and

p. ail other acts of negligence alleged in the Pending Actions.

22. At all material times, Defendants, as the proprietors of the 17" Street Canal, London
Avenue Canal, Orleans Avenue Canal, IHNC/Industrial Canal and/or 40 Arpent Canal
and all other flood control and/or drainage structures, failed to exercise their duties
pursuant to Louisiana Civil Code articles 667 to refrain from creating a nuisance. As the
result of such nuisance created by the Defendants, the proposed class has been deprived
of the enjoyment of their property,

23. Defendants are liable under Louisiana Civil Code article 2322 for the deterioration of the
Levees known to them before Hurricane Katrina and/or Hurricane Rita and or failing to
repair same.

24. At all material times, Defendants had garde as contemplated by Louisiana Civil Code
article 2317 of the 17 Street Canal, London Avenue Canal, Orleans Avenue Canal,
IHNC/Industrial Canal and/or 40 Arpent Canal and all other flood control and/or drainage
structures, and are thus strictly liable for damages resulting from damages caused by

defects therein.

NO.99913692.1 11
Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 12 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/15/2008 Page 12 of 14

V.
DAMAGES
25. In addition to damages as alleged throughout this Complaint, Plaintiffs on behalf of
themselves and the Class and Subclasses, allege as a result of the Defendants’ negligent,
grossly negligent, reckless, wanton and/or illegal inactions described throughout this

Complaint, damages as follows:

a. PROPERTY AND OTHER SPECIAL DAMAGES: As a direct and proximate
result of the Defendants’ negligence, gross negligence, reckless, wanton and/or
illegal acts and/or failures to act, Plaintiffs, Class and Subclass Members have
suffered property damages and other special damages including, but not limited
to, the following: loss of property (real and personal), immovable and movable;
diminution of property value; loss of income; costs of relocation; loss of business
opportunities and business interruption; evacuation expenses; loss of opportunity
to avoid injury and damage through preventative measures, including, but not
limited to, relocation, raising of homes, and purchase of additional insurance,
which actions would have been taken had knowledge of the insufficiency of the
flood protection system been known, and other special damages to be proven at
trial.

b. PERSONAL INJURY AND OTHER GENERAL DAMAGES: As a direct
and proximate result of the Defendants’ negligence, gross negligence, reckless,
wanton and or illegal acts and/or failures to act, Plaintiffs, Class and Subclass
members have suffered personal injury and other general damages including, but

not limited to, the following: wrongful death, survival damages, fear, fright and

NO.99913692.1 12
Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 13 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/15/2008 Page 13 of 14

emotional distress, grief, mental anguish, inconvenience, pain and suffering, loss
of the capacity to enjoy life; loss of consortium; and costs of suit.

c DAMAGES TO THE CLASS AS A WHOLE. As a direct and proximate result
of the Defendants’ negligence, gross negligence, reckless, wanton and/or illegal
acts and/or failures to act, the Class as a whole has suffered a societal harm which
includes the breakdown of Hurricane Affected Geographic Area’s social structure,
the loss of cultural heritage, and the dramatically altered physical, economic,
political, social, and psychological character of the New Orleans metropolitan
area.

Vi
PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that after due proceedings had there be a judgment or

judgments entered in Plaintiffs’ favor and against Defendants. in the following particulars:

(a) certifying the Class and Subclasses as proposed herein;

(b} appointing Class Representatives as proposed herein;

(c) appointing undersigned counsel as Class counsel;

(d) taking all such actions, including but not limited to interpreting, inspecting,
reviewing, analyzing, examining, reforming, evaluating, construing, scrutinizing,
restating, and otherwise considering any and all insurance policies and/or
contracts of Orleans, East Jefferson and/or Lake Borgne, as may be necessary and
appropriate for this Court to determine the existence and proper amount of

insurance coverage available for the claims asserted herein,

NO.999 13692.1 13
Case 2:05-cv-04182-SRD-JCW Document 19256-8 Filed 09/09/09 Page 14 of 14
Case 2:05-cv-04182-SRD-JCW Document 16722 Filed 12/15/2008 Page 14 of 14

(2) declaring the existence and available limits of any and all insurance coverage
available for the claims asserted herein;

(f) awarding damages as alleged herein; and

(g) providing such other relief as the Court deems just and equitable.

Respectfully submitted,

JOSEPH M. BRUNO, LA #3604

L. SCOTT JOANEN, LA #21431

LAW OFFICES OF JOSEPH M. BRUNO
855 Baronne Street

New Orleans, LA 70113

Telephone: (504) 525-1335

Facsimiie: (504) 561-6775

Email: jbruno@jbrunolaw.com

and

GERALD E. MEUNIER, LA #9471
GAINSBURGH, BENJAMIN, DAVID, MEUNIER
& WARSHAUER, L.L.C.

2800 Energy Centre

1100 Poydras Street

New Orleans, LA 70163-2800

Telephone: (504) 522-2304

Facsimile: (504) 528-9973

Email: gmeunier@gainsben.com

and

JAMES PARKERSON ROY, LA #11511
DOMENGEAUX, WRIGHT, ROY & EDWARDS L.L.C.
P.O. Box 3668

Lafayette, LA 70502

Telephone: (337) 593-4190 or (337) 233-3033

Facsimile: (337) 233-2796

Email: jimr@wrightroy.com

NO.99913692. 1 14
